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                                                                                              Beverley McGrew Walker
                                                                                                          District Clerk
                                                                                              Fort Bend County, Texas
                                                                                                     Sy!vie Le

                                   CAUSE NO.22-DCV-295401

LINDA RICKS                                                   IN THE DISTRICT COURT

                      PLAINTIFF,


V.                                                     Fort Bend County - 458th Judicial District Court
                                                                   JUDICIAL DISTRICT

BEST BUY CO.,INC., D/B/A
MINNESOTA BEST BUY CO.,INC.

                      DEFENDANT.                       FORT BEND COUNTY,TEXAS


                           PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW,PlaintiffLinda Ricks("Ricks")and files this Original Petition complaining

of Defendant Best Buy Co., Inc., d/b/a Minnesota Best Buy Co., Inc. ("Best Buy") and for her

causes of action would respectfully show unto the Court as follows:

                             I. DISCOVERY CONTROL PLAN

       1.1    Plaintiff pleads that the case should be assigned to Discovery Level Two

pursuant to Rule 190.3 of the Texas Rules of Civil Procedure.

                                         II. PARTIES

       2.1    Plaintiff Linda Ricks is a citizen of the State of Texas and is a resident of Fort

Bend County, Texas.




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       2.2        Defendant Best Buy is a for-profit business entity conducting business throughout

the state of Texas. It may be swerved with process by serving its registered agent for service, the

CT Corporation System, 1999 Bryan Street, Suite 900. Dallas, Texas 75201, or wherever they may

be found.

                                 III.   VENUE AND JURISDICTION

       3.1        Venue in Fort Bend, Texas is proper under the general venue rule of Section

15.002(a)(1) of the Texas Civil Practice and Remedies Code, as all or a substantial part of the

events or omissions giving rise to the claim or occurrence occurred in Fort Bend County, Texas.

       3.2        Damages sought are within the jurisdictional limits of this Court. The Plaintiff seeks

only monetary relief over $250,000 but not more than $1,000,000, excluding interest, statutory or

punitive damages and penalties, and attorney fees and costs.

                                          IV. BACKGROUND

       4.1        On or about August 6, 2020, Plaintiff was an invitee of the Best Buy store located at

16980 Southwest Freeway, Sugar Land, Texas 77479. On that occasion, Plaintiff was entering the

store when her foot caught on tape and/or a loose carpet seam that caused her to lose her balance

and fall on her right shoulder, face and arms. This facility was owned, operated, and maintained

by Defendant. Defendant had actual knowledge of the danger. As a result of the condition of the

entry way and Defendant's negligence, Plaintiff suffered serious personal injuries.

                                         V.      NEGLIGENCE

       5.1         Plaintiff would show that the incident in question and the Plaintiff's resulting

damages were proximately caused by the negligence, acts and/or omissions of the Defendant, its

agents, servants, and/or employees in one or more of the following ways:

             a.     Failure to maintain the premises in question in a reasonably safe condition free of
                    hazards to Plaintiff and invitees;

             b. Failure to correct the unreasonably dangerous condition;
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              c.     Failing to adequately warn Plaintiff of the dangerous condition;

              d. Failure to properly inspect the premises in question to discover the unreasonably
                 dangerous condition made the subject of this lawsuit;

              e.     Failure to properly and adequately train its agents, employees and/or servants to
                     discover the unreasonably dangerous condition made the subject of this lawsuit; and

              f.     Failure to implement proper policies to make the premises reasonably safe.

        5.2        The above acts/omissions by Defendant, singularly or collectively, constituted

   negligence and proximately caused Plaintiff's injuries and damages.

                                            VI.    DAMAGES

       6.1         As a producing, direct and proximate result ofthe incident, injuries, and damages for

which Defendant is liable, Plaintiff seeks and is entitled to general, special, economic and

noneconomic damages, as applicable to Plaintiff, in an amount in excess of the court's minimum

jurisdictional limits, as the jury determines to be just and fair. Such damages include, but are not

necessarily limited to:

              a. Personal Injury Damages

                        1) Physical pain and mental anguish in the past and future;
                        2) Loss of earning capacity in the past and the future;
                        3) Loss of wages and earnings in the past and the future;
                        4) Disfigurement in the past and the future;
                        5) Physical impairment in the past and the future;
                        6) Pre judgment and post judgment interest;
                        7) Medical care in the past and the future; and
                        8) All other damages allowed by law and equity.

                                          VII.    RULE 193.7 NOTICE

       7.1     Plaintiff intends that any and all documents produced by Defendant to Plaintiff in

response to written discovery will be used against Defendant at any pretrial proceeding or trial.


                                           VIII. JURY DEMAND

       8.1     Plaintiff demands a trial by jury and tenders the appropriate fee.

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        WHEREFORE,Plaintiff prays that this cause be set for trial before a jury, that she recovers

judgment of and from Defendant for her actual damages in such amount as the evidence may show

and the jury may determine to be proper, together with prejudgment interest, post-judgment

interest, costs of court,and such other and further relief to which he may show themselves to be

justly entitled.

                                             Respectfully submitted,

                                             MAGENHEIM• ZEHNDER

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